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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                       NORTHERN DIVISION at ASHLAND

 KAREN SMITH,                              )
                                           )
         Plaintiff,                        )        Civil No. 0:18-019-HRW
                                           )
 V.                                        )
                                           )
 SPECIALIZED LOAN SERVICING,               )     MEMORANDUM OPINION
 LLC, ET AL.,                              )         AND ORDER
                                           )
         Defendants.                       )
                                           )

                                *** *** *** ***
        Karen Smith is a resident of Grayson, Kentucky.        Proceeding without a

lawyer, Smith filed a complaint with this Court asserting claims against various

defendants. [D. E. No. 1]. Smith also filed a motion to proceed informa pauperis.

[D. E. No. 2].

        As an initial matter, the Court will grant Smith's fee motion and waive

payment of the filing and administrative fees in this case. That is because the

information contained in Smith's motion indicates that she lacks sufficient assets or

income to pay the $350.00 filing fee. Since the Court is granting Smith pauper

status, it will also waive payment of the $50.00 administrative fee. See District Court

Miscellaneous Fee Schedule, § 14.



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      The Court has also conducted an initial review of Smith's complaint pursuant

to 28 U.S.C. § 1915(e)(2). While Smith's complaint is lengthy and difficult to

follow, she is clearly challenging the foreclosure proceedings related to a piece of

real property in Grayson, Kentucky. That said, as Smith appears to acknowledge,

there is also an ongoing state court case regarding this same matter. See Specialized

Loan Servicing LLC v. Karen Smith, No. 14-CI-00292 (2014 ). In fact, according to

the state court's publically available docket sheet, Smith's case remains pending in

Greenup County Circuit Court, and her case is set to be heard on February 22, 2018.

See id. The docket sheet then specifically indicates that Smith may submit her

objections to the sale of her property at that time. See id.

      In light of the ongoing state court proceedings regarding this same matter, the

Court will abstain from ruling on Smith's complaint and, instead, it will dismiss this

action without prejudice. See, e.g., Doscher v. Menifee Circuit Court, 75 F. App'x

996, 997 (6th Cir. 2003) (stating that the district court properly abstained from ruling

on the pro se plaintiffs complaint regarding foreclosure proceedings because there

was a foreclosure action pending in state court and the plaintiff had an adequate

opportunity to raise his challenges to those proceedings); Daniel Essek v. Vanderbilt

Mortgage, Inc., No. 6:10-cv-333-GFVT (E.D. Ky. 2011) (the same).

      Accordingly, it is hereby ORDERED as follows:



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  1. Smith's motion to proceed informa pauperis [D. E. No. 2] is GRANTED

     and payment of the filing and administrative fees is WAIVED.

  2. Smith's complaint [D. E. No. 1] is DISMISSED WITHOUT PREJUDICE

     on abstention grounds.

  3. This action is STRICKEN from the Court's docket.

  This 14th day of February, 2018.

                                                Signed By:
                                                Hena. R. Wilhoit. Jr.
                                                United States District Judge




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